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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA,
~against- 17 er 514 JIGK)
ORDER
MOHAMED TRAORE,
Defendant.
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The conference scheduled for Wednesday, October 21, 2020, at 11:30am, is adjourned
to Monday, November 9, 2020, at 9:00am.

SO ORDERED. Z DY, (o Ae,

=< JOHN G. KOELTL
UNITED STATES DISTRICT JUDGE

 

Dated: New York, New York
October 19, 2020

 

 

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